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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND
                                 (Baltimore Division)

  In re:

  HOME SWEET HOME DD, INC                                 Case No. 20-10213-NVA

                          Debtor.                         (Chapter 11 – Subchapter V)



                VERIFIED STATEMENT OF SUBCHAPTER V TRUSTEE

        In connection with the United States Trustee’s Notice of Appointment of me as

Subchapter V trustee in this proceeding, I hereby verify that I am a “disinterested person” as

defined by 11 U.S.C. §101(14) in that I:

               (a)    am not a creditor, equity security holder or insider of the debtor;

               (b)    am not, and was not, within two years before the date of filing of the
                      petition, a director, officer, or employee of the debtor; and

               (c)    do not have an interest materially adverse to the interest of the estate or of
                      any class of creditors or equity security holders, by reason of any direct or
                      indirect relationship to, connection with, or interest in, the debtor, or for
                      any other reason.

        Subject to court approval pursuant to 11 U.S.C. § 330, I anticipate seeking compensation

for my service in this case at an hourly rate of $700.00, in addition to seeking reimbursement for

any actual and necessary expenses I incur.

        I hereby accept my appointment as subchapter V trustee in this case pursuant to FRBP

2008.

Dated: January 14, 2021                      /s/ Monique D. Almy
                                             Monique D. Almy, Federal Bar No. 04479
                                             Crowell & Moring LLP
                                             1001 Pennsylvania Avenue, N.W.
                                             Washington, DC 20004
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